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                       Exhibit 9B
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Phone:713-572-?000 Fax:713-572-2009                                                          Job Date !- ---                       Case No.---~--

                                                                                            10J22/2014            ~ N1DL 2179                     ~
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                                                                                        In Re: Oil Spill by the Qif Rig "Deepwater Horizon" -Penalty
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      David McIiwain
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      U.S. DEPARTMENT OF JUSTICE
      Environmental Enforcement Section                                                 Due upon receipt                                                                 j
      P. O. Box 7511
      UUashington DC 20044-7611


Copy of Videotaped Deposition
     Ian Ratner                                                                                       99.00 Pages             @        10.00                   990.00
           Conference Room                                                                                                            170.96                   170.96
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 ~lli Inclusive Pricing includes: Page Rate, Admin Fee/Appearance Fee, Rough Draft, Electronic Exhibits, Travel &Lodging Expenses,
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 Remote Streaming For: Patrick Casey
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Tax ID: XX-XXXXXXX                                                                                             Phone:(202) 514-1448             Fax:(202) 514-4180

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             Case 2:10-md-02179-CJB-DPC Document 15835-10 Filed 02/08/16 Page 104 of 145                                          f.,.



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       Environmental Enforcement Section                                                Due upon receipt                                                             ~
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       Washington DC 20044-7611


 Copy of 4`ideotaped Deposition
      ian Ratner, Part 2                                                                           37.00 Pages            @               10.00             370.00 ~
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 Remote Streaming for Patrick Casey
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 David McIlwain                                                                    Invoice No.              117838                       ci-,      ~~r,
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              Case 2:10-md-02179-CJB-DPC Document 15835-10 Filed 02/08/16 Page 105 of 145
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            Case 2:10-md-02179-CJB-DPC Document 15835-10 Filed 02/08/16 Page 106 of 145
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      Environmental Enforcement Section                                                   Due upon receipt
      P. O. Sox 7b11
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 Copy of Videotaped Deposition
      Dr. Donald Boesch                                                                                 56.00 Pages             @        10.00                  560.00

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          Houston TX 77027                                                                                         In Re: Oil Spill by the Oil Rig "Deepwater
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           Case 2:10-md-02179-CJB-DPC Document 15835-10 Filed 02/08/16 Page 107 of 145

Worid~vide Court Reporters, Inc.                                                              Invoice No.                i   Invoice Date              Job Ido.          j
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      P. O. Box 7611
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      Dr. Donald Boesch
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           Case 2:10-md-02179-CJB-DPC Document 15835-10 Filed 02/08/16 Page 108 of 145          k     C




V~iorld~v de Court Reporters, Inc.                                                    Invoice No.—              Inuoice Date        I          .lob IVo.
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      P. 0. Box 7611
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 David McIlti:~ain                                                                 Invoice No.              117967
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           Case 2:10-md-02179-CJB-DPC Document 15835-10 Filed 02/08/16 Pagew 109 of 145
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      David McII~•vain
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      P. O. Box 7611
      UVashington DC 20044-7611


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      Dr. John LV. Tunnell                                                                          ~znn nn PanAc             n           1 n nn            ~ nnn nn

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      Environmental Enforcement Section                                               Due upon receipt
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      Washington DC 20044-7611


 Copy of Videotaped Deposition
      Dr. Charles (Mason                                                                             8.Q0 Pages              @         10.00                  80.00
            Conference Room                                                                                                          166.81                  166.81
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 Remote Streaming for Rachel Hankey
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             Case 2:10-md-02179-CJB-DPC Document 15835-10 Filed 02/08/16 Page 111 of 145

LVorid~vide Court Reporters, Inc.                                                              Invoice No.                   invoice Date      ~ ~ ]ob No.
3000 ~Neslayan St., Suite 235
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       Environmental Enforcement Section                                                    Due upon receipt                                         j
       P. 0. Box 7611
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           Dr. Charles Mason
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          Houston TX 77027                                                                                              In Re: Oi! Spill by the Oil Rig "Deepwater
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                                                                                                                        Horizon" -Penalty Phase
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            Case 2:10-md-02179-CJB-DPC Document 15835-10 Filed 02/08/16 Page 112 of 145

lNorldlvide Court Reporters, Inc.                                                        ~_ Invoice Na.                     Invoke Date ~              Job Nfl
3000 lVeslayan St., Suite 235
Houston TX 77027                                                                                 117959   ~ 11 0/2014           45970
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                                                                                           In Re: Oil Spill by the Oil Rig "Deepwater Horizon" -Penalty
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      David McIlavain                                                                    F-        ------------         -            —                ---1
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      Environmental Enforcement Section                                                  ~ Due upon receipt -       -Y-      --T-------
      P. O. Box 7611                                                                              _.—_.—.     -----     ----     —   —_-_i
      Washington DC 20044-76I1


 Copy of Videotaped Deposition
      Stanley Rice                                                                                         26.00 Pages              @         10.00             260.00
            Conference Room                                                                                                                  120.96             12Q.96
            Internet Realtime Set Up                                                                                                          50.00              50.00
            Realtime Remote Connection Fee                                                                                                   150.OQ             150.00
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 Ali inclusive Pricing includes: Page Rate, Admin Fee/Appearance Fee, Rough Draft, Electronic Exhibits, Travel &Lodging Expenses,
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 Remote Streaming for Rachel Hankey
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Tax. ID: XX-XXXXXXX                                                                                                Phone:(202)514-1448           Fax:(202)514-4180

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          Houston T~ 77027
                                                                                          Case Name                    In Re: Oil Spill by the Oil Rig °DeepUvater
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             Case 2:10-md-02179-CJB-DPC Document 15835-10 Filed 02/08/16 Page 113 of 145

 Worldti~vide Court Reporters, Inc.                                                          Invoice Pia.              Invoice Date        ~             Job No.
 3000 1Nesiayan St., Suite 235
 Houston TX 77027                                                                                 117958      ~-11/bJ2014                  ~              45970
 Phone:713-572-2000 Fax:713-572-2009                                                  ~        7ob Date                               Case No.                  - -~----

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       David McIlwain
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       U.S. DEPARTMENT OF JUSTICE
       Environmental Enforcement Section                                                   Due upon receipt
       P. O. Box 7611
       Washington DC 20044-7611


 Ct~~t;✓ of Videotaped Deposition
         Stanley Rice                                                                                300.00 Pages               @         10.00                  3,000.00
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 David McIlwain                                                                           Invoice No.             117958                       ~' c~=
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          Houston TX 77027
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            Case 2:10-md-02179-CJB-DPC Document 15835-10 Filed 02/08/16 Page 114 of 145
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VVoridvvide Court Reporters, Inc.                                                                 Invoice No. ~ Invoice Date            Job No.     a
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      David McIl~vain
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      Environmental Enforcement Section                                                        Due upon receipt
      P. O. Sox 7611
      Washington DC 20044-7611


Copy of Videotaped Deposition
     David Sunding                                                                                             19.00 Pages                     10.00               190.00
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 Remote Streaming for: Charles Griffiths and William 1,`Vheeler
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          3000 11Veslayan, Suite 235                                                           Case No.                  f~1DL 2179
          Houston TX 77027                                                                                               In Re: Oil Spill by the Oil Rig "Deepwater
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            Case 2:10-md-02179-CJB-DPC Document 15835-10 Filed 02/08/16 Page 115 of  u_
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4Voridl:                     rs, Inc.                                                            Invoice Pao.             ~     Invoice Date     i         Jo6 lVo.          j
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            Case 2:10-md-02179-CJB-DPC Document 15835-10 Filed 02/08/16 Page 116 of 145
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      David Mcllwain                                                                                                                                       ----
      U.S. DEPARTMENT OF JUSTICE                                                       ~`-------Payment Terms _-
      Environmental Enforcement Section                                                   Due upon receipt
      P. 0. Box 7bll
      Washington DC 20044-7611


 Copy of Videotaped Deposition
      Qr. Richard Clapp                                                                                 251.00 Pages                      ~~    10.00         2,510.00
            Conference Room                                                                                                                    189J4            189.74
            Internet Realtime Set Up                                                                                                            50.00                50.00
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 Remote Streaming for Richard Gladstefn
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            Case 2:10-md-02179-CJB-DPC Document 15835-10 Filed 02/08/16 Page 117 of 145
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 3000 Wesiayan St., Suite 2~5
 Houston TX 77027                                                                                       117941                        11Jb;2014               46044            ~
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      David McIlwain
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      U.S. DEPARTMENT OF .JUSTICE                                                                            -- - -----------_—_ _-------i
      Environmental Enforcement Section                                                         Due upon receipt
      P. O. Box 7611
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 Cep ~f Videotaped Deposition                                                                                                                                             ~
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          3000 Wesleyan, Suite 235                                                            Case No.                       h1DL 2179
          Houston TX 771327
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            Case 2:10-md-02179-CJB-DPC Document 15835-10 Filed 02/08/16 Page 118 of 145
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Worldwide Court Reporters, Inc.                                                                Invoice No.              j   Invoice Date      E           Job No.
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Phone:713-57~-?000 Fax:713-572-2009                                                              Job Date _ ~                       ----Case
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      David McIlwain
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      Environmental Enforcement Section                                                     Due upon receipt
      P. 0. Box 7611
      1,Nashington DC 20044-7611


 Copy of V(deotaped Deposition
      George 6onanno                                                                                     258.00 Pages               ~a       10.00              2,580.00 ~
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            Internet Realtime Set Up                                                                                                         50.00                    5Q.00 ',
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Remit To: UVorldwide Court Reporters,Inc.                                                 BU ID                       OUT of ST
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          Houston TX 77027
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           Case 2:10-md-02179-CJB-DPC Document 15835-10 Filed
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      David McIlwain                                                                                                                                                 j
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      Environmental Enforcement Section                                                     Due upon receipt
      P. 0. Box 7611                                                                 ~. _
      uVashington DC 20044-7611


Copy of Videotaped Deposition
     Damian Shea                                                                                      40.00 Pages              @        10.00             400.0
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              Conference Room
              Internet Realtime Set Up                                                                                                  50.0                 50.00 I

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 All Inclusive Pricing includes: Page Rate, Admin Fee/Appearance Fee, Rough Draft, Electronic Exhibits, Travel &Lodging Expenses,
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Tax ID: XX-XXXXXXX                                                                                            Phone:(202) 514-144          Fax:(202) 514-180

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Remit To: Worldwide Court Reporters, Inc.                                               BU ID                     OUT of ST
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          Haustan TX 77027                                                                                        In Re: Oil Spill by the Oil Rig "Deepwater
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             Case 2:10-md-02179-CJB-DPC Document 15835-10 Filed 02/08/16 Page 120 of 145
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Houston TX 77027                                                                          118016                 I1/10/2014                45959
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      David McIlwain
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      U.S. DEPt1RTMENT OF JUSTICE
      Environmental Enforcement Section                                         ~; Due upon receipt
      P. 0. Box 7611
      UVashington DC 20044-7611


Copy of Videotaped Deposition
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     Damian Shea
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 Remote Streaming for Rachel Hankey and Aristide Chakeres
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 David McIiwain
 U.S. DEPARTMENT OF JUSTICE                                                          Invoice Date        11/10J2014                '~       'rte
                                                                                                                                   ~        ~Mr'"
 Environmental Enforcement Section                                                   Total Due           $ 3,QOO.UQ                ~         _-
 P. O. Box 7611
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          3000 Wesleyan, Suite 235                                                   Case No.             MDL 2179
          Houston TX 77027                                                           Case Name           In Re: Oil Spill by the Oil Rig "Deepwater
                                                                                                         Horizon" -Penalty Phase
                                                                                                                 Depositions_232
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                                                         Depositions_233
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                                                         Depositions_234
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                                                         Depositions_235
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                                                         Depositions_236
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                                                         Depositions_237
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                                                         Depositions_238
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                                                         Depositions_239
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                                                         Depositions_240
Case 2:10-md-02179-CJB-DPC Document 15835-10 Filed 02/08/16 Page 129 of 145




                                                         Depositions_241
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                                                         Depositions_242
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                                                        Depositions_243
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                                                         Depositions_244
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                                                         Depositions_245
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                                                         Depositions_246
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                                                         Depositions_247
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                                                         Depositions_248
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                                                         Depositions_249
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                                                         Depositions_250
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                                                         Depositions_251
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                                                         Depositions_252
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                                                         Depositions_253
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                                                         Depositions_254
            Case 2:10-md-02179-CJB-DPC Document 15835-10 Filed 02/08/16 Page 143 of 145

 Worldwide Court Reporters, Inc..                                                                                                              Job No.
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 Houston TX 77027                                                                            117846                   IOJ30(2014      i ~         ~k5965
 Phone:713-572-2000 Fax:713-572-2009
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                                                                                        In Re: Oil Spill by the Oil Rig "Deepwater Horizon" -Penalty
                                                                                        Phase
      David McIltivain
      U.S. DEPARTMENT OF JUSTICE                                                                                 Payment Terms                             ~~
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      Env(ronmental Enforcement Section                                                 Due upon receipt                                                      '
      P, 0. Box 7611                                                                                                                                          i
      UVashington DC 20044-7611


 Copy of Videotaped Deposition
      Captain Frank Paske~vich                                                                       7.00 Pages                     10.00                 70.00 '
            Conference Room                                                                                                        120.96              120.96
            Internet Realtime Set Up                                                                                                50.40                 50.00
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 David McIl~vain                                                                    Invoice No.              117840                r.a       -'
 U.S. DEPARTf~1EN~f QF JUSTICE                                                      Invoice Date             10/30j2D14            ~         '~'`~
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          Houston i"X 77027
                                                                                    Case Name                In Re: Oil Spill by the Oil Rig "Deepwater
                                                                                                             Horizon" - Penalty Phase
                                                                                                                      Depositions_255
            Case 2:10-md-02179-CJB-DPC Document 15835-10 Filed 02/08/16 Page 144 of 145


lNorldtivide Court Reporters, Inc.                                                    Invoice No.               Invoice Date       ~      Job No.
3000 Weslayan St., Suite 235
Houston TX 77027                                                                          117$45                   1QJ30/2014               45965
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                                                                                   In Re: Oil Spill by the Oil Rig "Deepwater Horizon" - Penal
                                                                                   Phase
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      David h1cIlwain
                                                                                                          Payment Terms
      U.S. DEPARTMENT OF JUSTICE
      Environmental Enforcement Section                                            Due upon receipt                                                        '
      F. O. Box 7611
      Washington DC ?0044-7611


Copy of Videotaped Deposition
     Captain Frank Pasketivich                                                                 300.00 Pages             @         10.00         3,000.00
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Tax ID: XX-XXXXXXX                                                                                     Phone:(202) 514-1443            Fax:(202) 514-4180

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 David McIlwain                                                                   Invoice No.              117845
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 Environmental Enforcement Section                                                                         $ 3,00.00
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          3000 Weslayan, Suite 235                                                Case No.                 MDL 2179
          Houston ?X 77027                                                                                 In Re: Oil Spilf by the Oil Rig "Deep~vater
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Case 2:10-md-02179-CJB-DPC Document 15835-10 Filed 02/08/16 Page 145 of 145




                                                         Depositions_257
